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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                MIDLAND DIVISION

 KRYSTA MANSELL,                              )
                                              )   Civil Action No. 7:19-cv-00154-DC
        Plaintiff,                            )
                                              )
 v.                                           )
                                              )
 CAPITAL ONE BANK (USA), N.A.,                )
                                              )
         Defendant.                           )

                      DEFENDANT CAPITAL ONE BANK (USA), N.A.’S
                        CORPORATE DISCLOSURE STATEMENT

       Defendant Capital One Bank (USA), N.A. (“Capital One”) makes the following

disclosures under Fed. R. Civ. P. 7.1:

       Capital One Bank (USA), N.A. is a wholly-owned subsidiary of Capital One Financial

Corporation. No other publicly held corporation owns 10% or more of Capital One Bank (USA),

N.A.’s corporate stock. Capital One Financial Corporation has no parent corporation and no

publicly held corporation owns 10% or more of its corporate stock.

 Dated: July 18, 2019                         Respectfully submitted,

                                              /s/ Holly Ann Priest
                                              Holly Ann Priest
                                              NV Bar 13226
                                              priesth@ballardspahr.com
                                              BALLARD SPAHR LLP
                                              One Summerlin
                                              1980 Festival Plaza Drive, Suite 900
                                              Las Vegas, NV 89135-2658

                                              Counsel for Defendant Capital One Bank (USA),
                                              N.A.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of July, 2019, a true and correct copy of the above

and foregoing CAPITAL ONE BANK (USA), N.A.’S DISCLOSURE STATEMENT was e-

served and served on the following via the CM/ECF system:

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 Attorneys for Plaintiff

                                                     /s/ C. Wells __________________________




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